From: Murren, Wanda [mailto:wmurren@pa.gov]
Sent: Friday, April 27, 2018 3:34 PM
To: Dave Davies <Ddavies@whyy.org>
Subject: Regarding PA voter rolls
Importance: High


We all care about the integrity and security of our election system. Toward that end, the
Department of State is taking steps to make sure that our voting system works well and that
only eligible voters cast ballots in upcoming elections. The Department of State is committed
to using secure and modem tools to verify that only eligible voters cast ballots.

As reported previously, there was a programming error in the PennDOT Motor Voter
electronic system that may have led to some individuals inadvertently registering to vote.
When we learned of the system error, our immediate priority was to fix the problem. By the
end of 2017, we and our partners at PennDOT had resolved the problem to ensure that only
eligible voters can sign up to vote when at a Driver License Center. During that time, an
intense data analysis and process was conducted that yielded a responsible list of individuals
for whom voter registration status required further confirmation. As a result of that work, the
Department of State is mailing the attached letter today to 7, 702 individuals whose citizenship
status merits further due diligence.

While there is more analysis to be done, we believe the letter is a measured and responsible
way to remind these individuals of voter eligibility requirements before the upcoming primary
election. As experience from other states' similar efforts shows, many of these individuals
may likely be citizens, but the available data cannot confirm that status.

Currently, the Department is continuing its analysis. After the primary, officials will take
additional steps to ensure that affected individuals affirm their eligibility or request
cancellation. For example, after the primary, the department will reach out to the individuals
through another mailing. The department will use nationally-recognized authentication
programs such as the ERIC voter list maintenance database in this effort. Individuals who do
not respond to the subsequent notifications may be subject to additional processes before
removal from the voter rolls.

The department is committed to the integrity of elections in Pennsylvania. The issue we are
remedying spans several decades and multiple administrations. We have already fixed the
problem that allowed people to inadvertently register to vote. We take seriously our duty to
make sure that only eligible voters can cast ballots, and we believe that these steps are
important to maintaining that integrity and confidence in our voting systems.

Wanda


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                                                                                          Exhibit A
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